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Attorneys for Plaintiffs and the Putative Class

                               UNITED STATES DISTRICT COURT
                                     DISTRICT OF UTAH
 JAMES CAMORAS, individually and on                           DECLARATION OF
 behalf of all others similarly situated,                    DAVID W. SCOFIELD
 Plaintiff,
 v.                                                      Case No. 4:23-cv-00118-DN-PK

 PUBLISHERS CLEARING HOUSE, LLC                            District Judge David Nuffer
 Defendant.                                                Magistrate Judge Paul Kohler

        I, David W. Scofield, declare under penalty of perjury, that the following facts are within

my personal knowledge and are true and correct:

        1.     I am and have been since October, 1983, a member in good standing of the Utah

State Bar and of this Court.

        2.     On May 17, 2024, the Honorable Paul Kohler, United States Magistrate Judge,

entered and the CM/ECF system served his Memorandum Decision and Order Denying Plaintiff’s

Motion for Leave to File First Amended Complaint (ECF No. 24) (“Memorandum Decision”).


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          3.    Any objection to the Memorandum Decision was due fourteen days after service

of the Memorandum Decision, which due date was May 31, 2024.

          4.    At approximately 11:08 p.m. on Friday, May 31, 2024, I received an email with an

attachment that was a draft of the Plaintiff’s Objections to Order Denying Plaintiff’s Motion For

Leave to File First Amended Complaint prepared by lead counsel.

          5.    I reviewed such draft and proposed certain changes to the draft.

          6.    After his review of my proposed changes, lead counsel agreed to them and the final

edit of the Word draft was ready to be printed to a .pdf on May 31, 2024, at 11:53 p.m., as shown

in the metadata of that final document in Exhibit 1 attached hereto, and then filed.

          7.    The .pdf version of the objection was created and ready to file on May 31, 2024, at

11:54 p.m. (the “Objection”), as shown in the metadata of that final document in Exhibit 2 attached

hereto.

          8.    Thereupon, I accessed the CM/ECF system and attempted to file the objection.

          9.    I accessed the Civil Event link entitled “Initial Pleadings and Service,” “Other

Answers and Responses,” since it seemed to me that an objection to a magistrate’s ruling was a

response to the order.

          10.   The next pulldown menu had two options for objections. The first was the specific

“Objection to Report and Recommendations.” The second was a generic “Objections.”

          11.   Since magistrate judges are the ones who issue reports and recommendations, I

selected that option for its, to me, apparent specificity.

          12.   That option brought me to the document upload screen and I successfully uploaded

the objection, including its exhibit, for filing.




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       13.     I then clicked “Next,” and got a screen that said: “There are no applicable events

to relate to the current event. Docketing of this event cannot continue.” The dialogue box at issue

is attached as Exhibit 3 hereto.

       14.     I had never seen such a screen before and was stymied as to why it would have

popped up. Ordinarily, if the problem with a filing is simply an incorrect selection, the CM/ECF

system will still accept the filing, and the Clerk will later issue a notice of deficiency and correct

it.

       15.     I thought I must have made an error on a prior screen, so I started the filing process

over again, from the beginning.

       16.     Again, I reached the same result. I still could not understand why my filing under

the specific pulldown menu choice had not worked, so I tried a third time and got the same result.

       17.     At this point it was about midnight. While I still could not understand why the

objection I had attempted to file multiple times under the specific rubric of objection to a report

and recommendation had not been accepted.

       18.     So, I decided that I would abandon the specific form of objection and instead resort

to trying the generic “Objection” pulldown menu option which appeared in the “Other Answers

and Responses,” pulldown list.

       19.     This time, I did not receive the “There are no applicable events to relate to the

current event. Docketing of this event cannot continue.” Message and I was able to continue to

get the objection docketed as ECF No. 26, with Exhibit A thereto as ECF No. 26-1.

       20.     Unfortunately, my difficulties with the CM/ECF filing prior to that effort resulted

in passing 12:01 a.m., the beginning of June 1, 2024, such that, based on the docket entry, the

filing was on June 1, 2024 rather than May 31, 2024, the due date.



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       21.    I still have no understanding of why my repeated pre-midnight attempts at filing,

using the specific Objection to Report and Recommendation choice failed. Reports and

recommendations are prepared by magistrate judges.

       22.    Nor do I understand why the generic Objection choice worked.

       23.    In any event, the Objection was ready to file and multiple attempts were made to

file it on the due date of May 31, 2024, only to be stymied by the CM/ECF system itself.

       24.    As far as I have been able to tell, nothing in the ECF Procedures Manual (Sept.

2023) contains any clue as to why Objections offered for filing under Objection to Report and

Recommendation would ever be stymied.

       DATED this 3rd day of June, 2024.

                                            /s/ David W. Scofield          .
                                            DAVID W. SCOFIELD




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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that he caused the foregoing DECLARATION OF
DAVID W. SCOFIELD to be filed with the Court through its CM/ECF system, this 3rd day of
June, 2024, which will serve copies hereof electronically on the following counsel registered for
CM/ECF notification:

       Phillip S. Ferguson—Phillip.ferguson@chrisjen.com

       Cassie D. Collignon – ccollignon@bakerlaw.com

       Robyn Feldstein – rfeldstein@bakerlaw.com



                                             /s/ David W. Scofield




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